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                               IN THE UNIT ED STATES DISTRICT COURT

                                            FOR THE DISTRICT OF HA WAIi

                                                                             )     Case. No. CV 23-00565 JAO-BMK
 COUNTY OF MAUI
                                                                             )
                                                                             )     ORDER GRANTING MOTION TO
                    Plaintiff,                                               )     APPEAR PRO HAC VICE AS TO
                                                                             )     John P. Fiske
                               VS .                                          )
                                                                             )
 MA UI ELECTRIC COMPANY, LIMITED et al.,
                                                                             )
                                                                             )
                    Defendant.                                               )
                                                                             )

                                               ORDER GRANTING MOTION
                                               TO APPEAR PRO HAC VICE

          The Court GRANTS the Motion of John P. Fiske                                                              to
                                                                                 - - - - - -- - - -- - -
  Appear Pro Hae Vice.

    Name of Attorney:                 John P. Fiske
    firm Name:                         Baron & Budd, P.C.
    Finn Address:                      11 440 W Bernardo Ct Suite 265. San Diego, CA 92127



    Attorney CM/ECF
   Primary email address: jfiske@ baronbudd.com

    Finn T elephone:                   (85 8) 225-7200
   Party Represented                   Plaintiff, COUNTY OF MAUI




          IT IS SO ORDERED.
          DAT ED: Honolulu, Hawaii, _ _D_e_c_em
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                                                                                    /S/ Barry    Kurren
                                                                                   Barry M. KmTen
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                                                                                   United States Magistrate Judge
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